                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                               KNOXVILLE DIVISION

  JESSE PIERCE and MICHAEL PEIRCE                  )
  on behalf of themselves and all others           )
  similarly situated,                              )
                                                   ) Case No.: 3:13-cv-00641-DCP
                Plaintiffs,                        )
                                                   )
  v.                                               )
                                                   )
  WYNDHAM VACATION RESORTS INC.,                   )
  and WYNDHAM VACATION                             )
  OWNERSHIP, INC.,                                 )

                Defendants.


               NOTICE OF WITHDRAWAL OF OSCAR JOHN NORRIS, III
                          AS ATTORNEY OF RECORD


        Oscar John Norris, III, pursuant to LR 83.4 (f) gives notice of his withdrawal as attorney

 of record for Defendants in the above-referenced case as he is no longer employed with Jackson

 Lewis P.C. and no longer represents Defendants. Upon the filing of this Notice of Withdrawal,

 Defendants are still being represented by William J. Anthony, Craig A. Cowart, Colby S. Morgan,

 Christopher D. Lauderdale and Stephanie L. Adler-Paindiris, attorneys of record for Defendants.

                                                       Respectfully submitted,

                                                        s/ O. John Norris, III
                                                       O. John Norris, III (TN BPR No. 017504)
                                                       Youth Villages, Inc.
                                                       3320 Brother Blvd.
                                                       Memphis, TN 38133
                                                       Telephone: (901)251-4913
                                                       Facsimile: (901)384-2040
                                                       john.norris@youthvillages.org




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of May, 2019, I filed the foregoing Notice of
 Withdrawal of Oscar John Norris, III as Attorney of Record, using the Court’s CM/ECF filing
 system, which will automatically send e-mail notification of such filing to the following
 individuals of record:

                                   Martin D. Holmes (TN Bar No. 012122)
                                   Darrell L. West (TN Bar No. 005962)
                                   Peter F. Klett (TN Bar No. 012688)
                                   M. Reid Estes, Jr. (TN Bar No. 009043)
                                   Autumn L. Gentry (Bar No. 20766)
                                   DICKINSON WRIGHT PLLC
                                   424 Church Street, Suite 800
                                   Nashville, TN 37219
                                   Telephone: (615) 244-6538
                                   Facsimile: (844) 670-6009
                                   Email: mdholmes@dickinsonwright.com
                                           dwest@dickinsonwright.com
                                           pklett@dickinsonwright.com
                                           restes@dickinsonwright.com
                                           agentry@dickensonwright.com

                                ATTORNEYS FOR PLAINTIFFS AND OPT-IN PLAINTIFFS

                                   William J. Anthony
                                   Craig A. Cowart
                                   Colby S. Morgan, Jr. (TN BPR No. 005556)
                                   Christopher D. Lauderdale
                                   Stephanie L. Adler-Paindiris
                                   JACKSON LEWIS P.C.
                                   Email: anthonyw@jacksonlewis.com
                                          craig.cowart@jacksonlewis.com
                                          colby.morgan@jacksonlewis.com
                                          lauderdc@jacksonlewis.com
                                          adlers@jacksonlewis.com

                                   ATTORNEYS FOR DEFENDANTS


                                                 s/ O. John Norris, III




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